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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

STANFORD STREET HOLDINGS, LLC
                           §
                           §
    Plaintiff,             §
                           §                          CIVIL ACTION NO. 4:17-CV-01646
V.                         §
                           §                                           JURY
WESTERN HERITAGE INSURANCE §
COMPANY AND TIM MERCER,    §
                           §
    Defendants.            §

  NOTICE OF SETTLEMENT AND JOINT REQUEST TO POSTPONE INITIAL
                  CONFERENCE ON AUGUST 10, 2017

       Come now Plaintiff STANFORD STREET HOLDINGS, LLC and Defendants

WESTERN HERITAGE INSURANCE COMPANY and TIM MERCER and notifies the Court

that the parties have reached a settlement of this case. The parties respectfully request that the

Court postpone for an additional 30 days the Initial Conference that is presently scheduled on

August 10, 2017, to allow the parties time to conclude the settlement and then file their

stipulation of dismissal.


                                             Respectfully submitted,

                                             THOMPSON, COE, COUSINS & IRONS, L.L.P.



                                             By:     /s/ George H. Arnold
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                                          Counsel for Plaintiff-
                                          STANFORD STREET HOLDINGS, LLC


                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 10th day of August, 2017, a true and correct copy of
the foregoing instrument was delivered to all known counsel of record in accordance with the
Federal Rules of Civil Procedure, and any applicable Local Rules, as follows:

       Rene M. Sigman
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       Counsel for Plaintiff

                                             /S/ George H. Arnold                       _
                                                  George Arnold
